                                                                                                                                                 09/28/23 2:41 PM
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Fill in this information to identify your case:


United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Brandon Hall School, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1701 Brandon Hall Drive
                                  Atlanta, GA 30350
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fulton                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 1
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Debtor    Brandon Hall School, Inc.                                                                     Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6111

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                     proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                      Relationship
                                                 District                                  When                              Case number, if known

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 2
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Debtor   Brandon Hall School, Inc.                                                                 Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Brandon Hall School, Inc.                                                                 Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        September 28, 2023
                                                  MM / DD / YYYY


                             X /s/       Karen White                                                       Karen White
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Board Chair




18. Signature of attorney    X /s/ Ian Falcone                                                             Date    September 28, 2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Ian Falcone 254470
                                 Printed name

                                 The Falcone Law Firm, PC
                                 Firm name

                                 363 Lawrence St NE
                                 Marietta, GA 30060-2056
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (770) 426-9359               Email address      imf@falconefirm.com

                                 254470 GA
                                 Bar number and State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 4
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 Fill in this information to identify the case:

 Debtor name         Brandon Hall School, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           September 28, 2023                     X /s/ Karen White
                                                                       Signature of individual signing on behalf of debtor

                                                                        Karen White
                                                                       Printed name

                                                                       Board Chair
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Brandon Hall School, Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                GEORGIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Express                                               Credit card                                                                                               $16,744.20
 PO Box 1270                                                    purchases
 Newark, NJ 07101
 Apex Disaster                                                  services                Disputed                                                                          $35,211.74
 Management Inc
 4220 Steve Reynolds
 Blvd
 Suite 5
 Norcross, GA 30093
 Bus Max Leasing                                                Lease (returned                                                                                           $25,643.25
 506A Turner McCall                                             vans)
 Blvd
 Rome, GA 30165
 Clean Star                                                     services                                                                                                  $22,471.54
 540 Collins Road
 Marietta, GA 30066
 Compass Group USA                                              All personal                                        $268,396.62                        $0.00            $268,396.62
 Inc                                                            property
 c/o Matthew Lipman,
 Esq
 McElroy Deutsch
 1 Penn
 Center-Suburban
 Center
 1617 JFK Blvd- Suite
 1500
 PhiladelphiaPhi, PA
 19103
 Craig Drilling                                                 wages                                                                                                     $17,520.76
 2374 Bynum Road
 Atlanta, GA 30319
 Great America                                                                                                                                                            $70,039.67
 Financial Services
 625 First Street SE
 Cedar Rapids, IA
 52401




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                                                                                                                                      09/28/23 2:41 PM
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 Debtor    Brandon Hall School, Inc.                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Halladay Education                                             services                                                                                                $650,750.00
 Group Inc
 6451 Elm Street
 Vancouver, BC V6N
 1B2
 Home Depot Credit                                              Credit card                                                                                               $13,771.35
 Services                                                       purchases
 Dept 32-2015029170
 PO Box 70614
 Philadelphia, PA
 19176
 Johnny Green                                                   wages                                                                                                     $35,559.14
 1701 Brandon Hall
 Drive
 Atlanta, GA 30350
 Kevin Huitt                                                    wages                                                                                                     $13,939.35
 2015 Hilltop Drive
 Atlanta, GA 30341
 Kevin Kennedy                                                  wages                                                                                                     $22,479.68
 735 Rockwood Ct
 Canton, GA 30115
 Kevin Langley                                                  wages                                                                                                     $14,062.50
 408 Watermill Way
 Suwanee, GA 30024
 Kyri Harris                                                    wages                                                                                                     $14,583.35
 2069 Hatteras Way
 NW
 Atlanta, GA 30318
 Leaf Technology                                                services                                                                                                  $36,354.11
 Finance
 PO Box 5066
 Hartford, CT 06115
 Patrick Rogers                                                 wages                                                                                                     $16,417.64
 1701 Brandon Hall
 Drive
 Atlanta, GA 30350
 Small Business                                                 all tangible and                                    $507,386.60                        $0.00            $507,386.60
 Administration                                                 intangible personal
 PO Box 3918                                                    property
 Portland, OR 97208
 Smith & Howard                                                 services                                                                                                  $16,500.00
 271    17th Street
 NW
 Suite 1600
 Atlanta, GA 30363
 Thompson Coburn                                                services                                                                                                $335,000.00
 PO Box 18379M

 Saint Louis, MO
 63195




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                                                                                                                                      09/28/23 2:41 PM
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 Debtor    Brandon Hall School, Inc.                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Zoe Hauser                                                     wages                                                                                                     $22,500.00
 207 Pointe Way
 Havre de Grace, MD
 21078




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                                                                                                                                                                   09/28/23 2:41 PM
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 Fill in this information to identify the case:

 Debtor name            Brandon Hall School, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        7,600,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           680,171.18

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        8,280,171.18


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        5,468,133.35


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           410,969.28

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,333,810.95


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           7,212,913.58




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         Brandon Hall School, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number

                    Regions bank
           3.1.     Operating account                                        Checking                       6485                                     $5,296.03




           3.2.     Synovous                                                 Checking                       9145                                       $848.66




           3.3.     Regions Bank                                             Checking                       3201                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                 $6,144.69
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor         Brandon Hall School, Inc.                                                           Case number (If known)
                Name



 11.       Accounts receivable

           11a. 90 days old or less:                            214,214.49     -                                   0.00 = ....                 $214,214.49
                                              face amount                             doubtful or uncollectible accounts



           11a. 90 days old or less:                                    0.00   -                                   0.00 = ....                          $0.00
                                              face amount                             doubtful or uncollectible accounts




 12.       Total of Part 3.
                                                                                                                                           $214,214.49
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                       Date of the last              Net book value of         Valuation method used    Current value of
                                                     physical inventory            debtor's interest         for current value        debtor's interest
                                                                                   (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Dorm furniture, Dining hall
           furniture                                                                              $0.00                                         $15,000.00



 23.       Total of Part 5.
                                                                                                                                            $15,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 2
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 Debtor         Brandon Hall School, Inc.                                                     Case number (If known)
                Name



 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Classroom Desks, Chairs                                                          $0.00                                         $5,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
             Classroom Projectors, Classroom LCD Displays                                   $0.00                                         $6,000.00


           Miscellaneous office supplies                                                    $0.00                                       $10,000.00


             55 Faculty Apple Laptops-Lease                                                 $0.00                                       $27,500.00


           copiers and printers- LEASE                                                      $0.00                                          Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
           42.1. Athletic Trophies/ Memorabilia                                            $0.00                                          $1,500.00



 43.       Total of Part 7.                                                                                                            $50,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2007 Ford F150 Pickup truck
                     (mileage =90K)                                                         $0.00                                         $5,000.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         Brandon Hall School, Inc.                                                     Case number (If known)
                Name

            47.2.    2010 Toro Tractor                                                      $0.00                                           $3,000.00



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Maintenance tools and supplies                                                  $0.00                                         $10,000.00



 51.        Total of Part 8.
                                                                                                                                       $18,000.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 1701 Brandon Hall
                     Drive
                     96,697 sqft boarding
                     school located on
                     25.02 acres                                                            $0.00      Marketed sale                   $7,600,000.00



 56.        Total of Part 9.
                                                                                                                                    $7,600,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
                Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

 Part 10:       Intangibles and intellectual property

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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                Name

59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                       Current value of
                                                                                                                       debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            ERC Refund                                                                         Tax year 2021                    $170,000.00



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

            Claim against The-Skill-Factory LLC                                                                                 $194,312.00
            Nature of claim           Damages
            Amount requested                                              $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

            Educational materials/ Books                                                                                           $2,500.00



            School Uniforms and logo wear                                                                                          $5,000.00



            Sports equipment                                                                                                       $5,000.00



 78.        Total of Part 11.
                                                                                                                             $376,812.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 5
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 Debtor          Brandon Hall School, Inc.                                                                          Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                             $6,144.69

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $214,214.49

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                              $15,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                         $50,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                     $18,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $7,600,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                 $376,812.00

 91. Total. Add lines 80 through 90 for each column                                                           $680,171.18            + 91b.            $7,600,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $8,280,171.18




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                            page 6
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 Fill in this information to identify the case:

 Debtor name         Brandon Hall School, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Apple Inc                                     Describe debtor's property that is subject to a lien                      Unknown                 $27,500.00
       Creditor's Name                                 55 Faculty Apple Laptops-Lease
       5000 Riverside Drive
       Suite 300 Ease
       Irving, TX 75039
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       8/5/2022                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1170
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.2   Atlanta International School                  Describe debtor's property that is subject to a lien                $4,680,000.00             $7,600,000.00
       Creditor's Name                               1701 Brandon Hall Drive96,697 sqft boarding
                                                     school located on 25.02 acres
       2890 North Fulton Drive
       Atlanta, GA 30305
       Creditor's mailing address                    Describe the lien
                                                     Mortgage
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 4
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 Debtor       Brandon Hall School, Inc.                                                                Case number (if known)
              Name



       Commercial Industrial
 2.3
       Finance Inc                                   Describe debtor's property that is subject to a lien                             $0.00              $0.00
       Creditor's Name                               Certain LED products
       10024 Office Center Ave
       Suite 150
       Saint Louis, MO 63128
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       2020                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.4   Compass Group USA Inc                         Describe debtor's property that is subject to a lien                       $268,396.62              $0.00
       Creditor's Name                               All personal property
       c/o Matthew Lipman, Esq
       McElroy Deutsch
       1 Penn Center-Suburban
       Center
       1617 JFK Blvd- Suite 1500
       PhiladelphiaPhi, PA 19103
       Creditor's mailing address                    Describe the lien
                                                     Judgment Lien
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




       Great America Financial
 2.5
       Svcs                                          Describe debtor's property that is subject to a lien                        $12,350.13              $0.00
       Creditor's Name                               copiers and printers- LEASE

       PO Box 660831
       Dallas, TX 75266
       Creditor's mailing address                    Describe the lien
                                                     PMSI
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 4
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 Debtor       Brandon Hall School, Inc.                                                                Case number (if known)
              Name

        Last 4 digits of account number
        2027
        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




        Small Business
 2.6
        Administration                               Describe debtor's property that is subject to a lien                       $507,386.60                 $0.00
        Creditor's Name                              all tangible and intangible personal property

        PO Box 3918
        Portland, OR 97208
        Creditor's mailing address                   Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
        5.4.2020                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        7406
        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




 2.7    VAR Technology Finance                       Describe debtor's property that is subject to a lien                          Unknown                  $0.00
        Creditor's Name                              Aerohive network and Epson Projector
                                                     System-LEASE
        2330 Interstate 30
        Mesquite, TX 75150
        Creditor's mailing address                   Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




                                                                                                                                $5,468,133.3
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          5

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 4
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              Name

        Name     and address                                                                     On which line in Part 1 did you     Last 4 digits of
                                                                                                 enter the related creditor?         account number for
                                                                                                                                     this entity
        Flik
        Compass Group USA                                                                        Line   2.4
        PO Box 50196
        Los Angeles, CA 90074

        Flik Independent School Dining
        2400 Yorkmont Rd                                                                         Line   2.4
        Charlotte, NC 28217

        Tamara Ogier, Esq.
        Ogier Rothschild & Rosenfeld                                                             Line   2.2
        PO Box 1547
        Decatur, GA 30031

        US Small Business Administration
        2 North Street                                                                           Line   2.6
        Suite 320
        Birmingham, AL 35203




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Brandon Hall School, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $9,583.35          $9,583.35
           Aimee Dooley                                              Check all that apply.
                                                                        Contingent
           4250 Arch Pass
                                                                        Unliquidated
           Cumming, GA 30040
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2023                                                      wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (4)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                      $11,375.02          $11,375.02
           Audrey Struck                                             Check all that apply.
                                                                        Contingent
           506 Autumn Echo
                                                                        Unliquidated
           Canton, GA 30114
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2023                                                      wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (4)                       Yes


 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                      $11,723.44          $11,723.44
           Brian Chapman                                             Check all that apply.
                                                                        Contingent
           225 Cagle Road
                                                                        Unliquidated
           Roswell, GA 30075
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           20023                                                     wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (4)                       Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1 of 17
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 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $9,791.65    $9,791.65
          Carrie Flamer                                              Check all that apply.
                                                                        Contingent
          570 Lakemont Ct
                                                                        Unliquidated
          Roswell, GA 30075
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $9,322.90    $9,322.90
          Chelsey May                                                Check all that apply.
                                                                        Contingent
          4021 McGinnis Ferry Rd
                                                                        Unliquidated
          Apt 1221
                                                                        Disputed
          Suwanee, GA 30024
          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $11,458.35    $11,458.35
          Colleen Martenson                                          Check all that apply.
                                                                        Contingent
          1741 Tolleson Court
                                                                        Unliquidated
          Atlanta, GA 30338
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $17,520.76    $15,150.00
          Craig Drilling                                             Check all that apply.
                                                                        Contingent
          2374 Bynum Road
                                                                        Unliquidated
          Atlanta, GA 30319
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $9,583.35    $9,583.35
          Dalton Cagle                                               Check all that apply.
                                                                        Contingent
          4420 Peachtree Road NE
                                                                        Unliquidated
          Apt 2508
                                                                        Disputed
          Atlanta, GA 30319
          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 17
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 Debtor       Brandon Hall School, Inc.                                                                       Case number (if known)
              Name

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $10,625.00    $10,625.00
          Greg Morris                                                Check all that apply.
                                                                        Contingent
          867 Summer Forest Drive
                                                                        Unliquidated
          Suwanee, GA 30024
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $7,980.00    $7,980.00
          Internal Revenue Service                                   Check all that apply.
                                                                        Contingent
          PO Box 7346
                                                                        Unliquidated
          Philadelphia, PA 19101-7346
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          July 31, 2022 (990)                                        Tax debt
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (8)                        Yes


 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,866.65    $6,866.65
          James Murphy                                               Check all that apply.
                                                                        Contingent
          221 Wilcox Road
                                                                        Unliquidated
          Lagrange, GA 30241
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $11,125.04    $11,125.04
          John Foster                                                Check all that apply.
                                                                        Contingent
          1701 Brandon Hall Drive
                                                                        Unliquidated
          Atlanta, GA 30350
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $35,559.14    $15,150.00
          Johnny Green                                               Check all that apply.
                                                                        Contingent
          1701 Brandon Hall Drive
                                                                        Unliquidated
          Atlanta, GA 30350
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes




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 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $8,459.28    $8,459.28
          Justin Ryder                                               Check all that apply.
                                                                        Contingent
          4 Walden Walk NE
                                                                        Unliquidated
          Atlanta, GA 30342
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $9,106.25    $9,106.25
          Justine McDonald                                           Check all that apply.
                                                                        Contingent
          920 Saddle Ridge Ct
                                                                        Unliquidated
          Roswell, GA 30076
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $13,939.35    $13,939.35
          Kevin Huitt                                                Check all that apply.
                                                                        Contingent
          2015 Hilltop Drive
                                                                        Unliquidated
          Atlanta, GA 30341
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $22,479.68    $15,150.00
          Kevin Kennedy                                              Check all that apply.
                                                                        Contingent
          735 Rockwood Ct
                                                                        Unliquidated
          Canton, GA 30115
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $14,062.50    $14,062.50
          Kevin Langley                                              Check all that apply.
                                                                        Contingent
          408 Watermill Way
                                                                        Unliquidated
          Suwanee, GA 30024
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes




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 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $3,420.04    $3,420.04
          Kevin Saunders                                             Check all that apply.
                                                                        Contingent
          1290 Wilkes Crest Drive
                                                                        Unliquidated
          Dacula, GA 30019
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $4,066.60    $4,066.60
          Kristen Bell                                               Check all that apply.
                                                                        Contingent
          91 Flowing Trail
                                                                        Unliquidated
          Dawsonville, GA 30534
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $14,583.35    $14,583.35
          Kyri Harris                                                Check all that apply.
                                                                        Contingent
          2069 Hatteras Way NW
                                                                        Unliquidated
          Atlanta, GA 30318
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $2,581.45    $2,581.45
          Leonel Pupo                                                Check all that apply.
                                                                        Contingent
          1701 Brandon Hall Drive
                                                                        Unliquidated
          Atlanta, GA 30350
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $9,583.35    $9,583.35
          Lynn Stallings                                             Check all that apply.
                                                                        Contingent
          355 North Peak Drive
                                                                        Unliquidated
          Alpharetta, GA 30022
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes




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 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $11,561.22    $11,561.22
          Meghan Sisk                                                Check all that apply.
                                                                        Contingent
          200 Holland Grove Lane
                                                                        Unliquidated
          Dallas, GA 30132
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $3,122.57    $3,122.57
          Mela Love                                                  Check all that apply.
                                                                        Contingent
          3095 Colonial Way
                                                                        Unliquidated
          Unit A
                                                                        Disputed
          Atlanta, GA 30341
          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $13,750.00    $13,750.00
          Mike Elenbaas                                              Check all that apply.
                                                                        Contingent
          857 Myrtle Street NE
                                                                        Unliquidated
          Apt 2
                                                                        Disputed
          Atlanta, GA 30308
          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $10,208.35    $10,208.35
          Mike Payne                                                 Check all that apply.
                                                                        Contingent
          510 Hillcrest View Drive
                                                                        Unliquidated
          Suwanee, GA 30024
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $11,106.91    $11,106.91
          Molly Ganley                                               Check all that apply.
                                                                        Contingent
          1701 Brandon Hall Drive
                                                                        Unliquidated
          Atlanta, GA 30350
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes




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 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $10,409.92    $10,409.92
          Nicole Chapman                                             Check all that apply.
                                                                        Contingent
          8090 Adair Lane
                                                                        Unliquidated
          Apt 5114
                                                                        Disputed
          Atlanta, GA 30350
          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $8,673.52    $8,673.52
          Omar Bullock                                               Check all that apply.
                                                                        Contingent
          1701 Bandon Hall Drive
                                                                        Unliquidated
          Atlanta, GA 30350
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $3,082.06    $3,082.06
          Oxy Willis                                                 Check all that apply.
                                                                        Contingent
          12000 Prose Circle
                                                                        Unliquidated
          Apt 9107
                                                                        Disputed
          Covington, GA 30016
          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $16,417.64    $16,417.64
          Patrick Rogers                                             Check all that apply.
                                                                        Contingent
          1701 Brandon Hall Drive
                                                                        Unliquidated
          Atlanta, GA 30350
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $4,193.07    $4,193.07
          Patrick Shealy                                             Check all that apply.
                                                                        Contingent
          1701 Brandon Hall Drive
                                                                        Unliquidated
          Atlanta, GA 30350
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes




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 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $10,234.40    $10,234.40
          Sarah Dunn                                                 Check all that apply.
                                                                        Contingent
          875 Old Farm Walk
                                                                        Unliquidated
          Marietta, GA 30066
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $5,648.05    $5,648.05
          Sarah Stewart                                              Check all that apply.
                                                                        Contingent
          13 Morgan Ave
                                                                        Unliquidated
          Cartersville, GA 30121
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $10,833.35    $10,833.35
          Scott Chruszcz                                             Check all that apply.
                                                                        Contingent
          593 Farmbrook Trail
                                                                        Unliquidated
          Kennesaw, GA 30144
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $4,431.72    $4,431.72
          Will Long                                                  Check all that apply.
                                                                        Contingent
          505 Ivy Chase Lane
                                                                        Unliquidated
          Peachtree Corners, GA 30092
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $22,500.00    $15,150.00
          Zoe Hauser                                                 Check all that apply.
                                                                        Contingent
          207 Pointe Way
                                                                        Unliquidated
          Havre de Grace, MD 21078
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2023                                                       wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes




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 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,153.24
           Amazon Capital Services
                                                                                Contingent
           PO Box 035184                                                        Unliquidated
           Seattle, WA 98124                                                    Disputed
           Date(s) debt was incurred                                         Basis for the claim: Services
           Last 4 digits of account number 37TT                              Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,282.70
           Amazon Cardmember Services
                                                                                Contingent
           P.O. Box 6294                                                        Unliquidated
           Carol Stream, IL 60197-6294                                          Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $16,744.20
           American Express
                                                                                Contingent
           PO Box 1270                                                          Unliquidated
           Newark, NJ 07101                                                     Disputed
           Date(s) debt was incurred                                         Basis for the claim: Credit card purchases
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $375.00
           Angela McHenry
                                                                                Contingent
           137 Ravenhurst Lane                                                  Unliquidated
           Fayetteville, GA 30214                                               Disputed
           Date(s) debt was incurred 5/2023                                  Basis for the claim: services
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $35,211.74
           Apex Disaster Management Inc
           4220 Steve Reynolds Blvd
                                                                                Contingent
           Suite 5                                                              Unliquidated
           Norcross, GA 30093                                                   Disputed
           Date(s) debt was incurred 2/2023                                  Basis for the claim: services
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,309.00
           AT&T Mobility
                                                                                Contingent
           PO Box 6463                                                          Unliquidated
           Carol Stream, IL 60197                                               Disputed
           Date(s) debt was incurred                                         Basis for the claim: services
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $816.64
           Atlanta School Guide
           200 Market Place
                                                                                Contingent
           Suite 230                                                            Unliquidated
           Roswell, GA 30075                                                    Disputed
           Date(s) debt was incurred                                         Basis for the claim: services
           Last 4 digits of account number 9791                              Is the claim subject to offset?      No         Yes




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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,821.00
          Atlanta Urgent Care
                                                                                Contingent
          2140 Peachtree Rd NW #360                                             Unliquidated
          Atlanta, GA 30309                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Atlantic Capital Bank
          3280 Peachtree Road
                                                                                Contingent
           Terminus 100, Suite 1600                                             Unliquidated
          Atlanta, GA 30305                                                     Disputed
          Date(s) debt was incurred 2011                                     Basis for the claim: Unknown
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,096.53
          Bank of America
          Business Card
                                                                                Contingent
          PO Box 15796                                                          Unliquidated
          Wilmington, DE 19886                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card purchases
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $659.40
          Beacon Security
                                                                                Contingent
          2954 North Expressway                                                 Unliquidated
          Griffin, GA 30223                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 6605                               Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $241.50
          Betins
                                                                                Contingent
          27328. 96th Ave East                                                  Unliquidated
          Graham, WA 98338                                                      Disputed
          Date(s) debt was incurred 1/2023                                   Basis for the claim: services
          Last 4 digits of account number 9282                               Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,752.00
          Blackbaud, Inc.
                                                                                Contingent
          PO Box 844827                                                         Unliquidated
          Boston, MA 02284                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $605.35
          Blick
                                                                                Contingent
          6910 Eagle Way                                                        Unliquidated
          Chicago, IL 60678                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 1957                               Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boardingware International LTD
          Office 2.6
                                                                                Contingent
          Cleveland Road, Parnell                                               Unliquidated
          Auckland, 1052 New Zealand                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: contract
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


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              Name

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,419.18
          BSN Sports
                                                                                Contingent
          PO Box 841393                                                         Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 5077                               Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,643.25
          Bus Max Leasing
                                                                                Contingent
          506A Turner McCall Blvd                                               Unliquidated
          Rome, GA 30165                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim: Lease (returned vans)
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Chris Carr, Attorney General
                                                                                Contingent
          40 Capital Square SW                                                  Unliquidated
          Atlanta, GA 30334                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,471.54
          Clean Star
                                                                                Contingent
          540 Collins Road                                                      Unliquidated
          Marietta, GA 30066                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 7727                               Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $416.58
          Colonial Supplemental Insurance
          Premium Processing
                                                                                Contingent
          PO Box 903                                                            Unliquidated
          Columbia, SC 29202                                                    Disputed
          Date(s) debt was incurred 4/2023                                   Basis for the claim: Insurance
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $65.15
          Comcast
                                                                                Contingent
          PO Box 71211                                                          Unliquidated
          Charlotte, NC 28272                                                   Disputed
          Date(s) debt was incurred 1/2023                                   Basis for the claim: services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,088.00
          Crabapple Turf Management
                                                                                Contingent
          1012 Union Center Drive                                               Unliquidated
          Alpharetta, GA 30004                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 3662                               Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Edge Business Systems LLC
          1350 Northmeadow Parkway
                                                                                Contingent
          Suite 130                                                             Unliquidated
          Roswell, GA 30076                                                     Disputed
          Date(s) debt was incurred 11/2018                                  Basis for the claim: Lease
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



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 Debtor       Brandon Hall School, Inc.                                                               Case number (if known)
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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,280.00
          FMB Laundry Inc
                                                                                Contingent
          PO Box 27174                                                          Unliquidated
          Baltimore, MD 21230                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 4448                               Is the claim subject to offset?      No         Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $42.92
          Foust & Associates
          1275 Shiloh Road
                                                                                Contingent
          Suite 2410                                                            Unliquidated
          Kennesaw, GA 30144                                                    Disputed
          Date(s) debt was incurred 4/2023                                   Basis for the claim: services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,646.58
          GIS Benefits
                                                                                Contingent
          POBox 1806                                                            Unliquidated
          San Antonio, TX 78296                                                 Disputed
          Date(s) debt was incurred 4/2023                                   Basis for the claim: services
          Last 4 digits of account number 0501                               Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $756.00
          Gisa
                                                                                Contingent
          PO Box 1057                                                           Unliquidated
          Thomaston, GA 30286                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: service
          Last 4 digits of account number 0715                               Is the claim subject to offset?      No         Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $531.04
          Grainger Inc
          Dept 048-821253689
                                                                                Contingent
                                                                                Unliquidated
          Palatine, IL 60038                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 3506                               Is the claim subject to offset?      No         Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $70,039.67
          Great America Financial Services
                                                                                Contingent
          625 First Street SE                                                   Unliquidated
          Cedar Rapids, IA 52401                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $650,750.00
          Halladay Education Group Inc
                                                                                Contingent
          6451 Elm Street                                                       Unliquidated
          Vancouver, BC V6N 1B2                                                 Disputed
          Date(s) debt was incurred 5/2023                                   Basis for the claim: services
          Last 4 digits of account number 0213                               Is the claim subject to offset?      No         Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,724.89
          Herff Jones, Inc
                                                                                Contingent
          PO Box 99292                                                          Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 9903                               Is the claim subject to offset?      No         Yes


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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,771.35
          Home Depot Credit Services
          Dept 32-2015029170
                                                                                Contingent
          PO Box 70614                                                          Unliquidated
          Philadelphia, PA 19176                                                Disputed
          Date(s) debt was incurred 4/2023                                   Basis for the claim: Credit card purchases
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $325.00
          J. Christian Medlin
                                                                                Contingent
          3549 South Cobb Drive                                                 Unliquidated
          Smyrna, GA 30080                                                      Disputed
          Date(s) debt was incurred 3/2023                                   Basis for the claim: service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,095.00
          Johnny Green, II
                                                                                Contingent
          1701 Brandon Hall Drive                                               Unliquidated
          Atlanta, GA 30350                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,653.12
          Josten's
                                                                                Contingent
          21336 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 9714                               Is the claim subject to offset?      No         Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $718.74
          Leaf
                                                                                Contingent
          PO Box 5066                                                           Unliquidated
          Hartford, CT 06115                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 5230                               Is the claim subject to offset?      No         Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leaf Capital Funding LLC
                                                                                Contingent
          2300 Interstate 30                                                    Unliquidated
          Mesquite, TX 75150                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: contract
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $36,354.11
          Leaf Technology Finance
                                                                                Contingent
          PO Box 5066                                                           Unliquidated
          Hartford, CT 06115                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 1214                               Is the claim subject to offset?      No         Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $214.19
          Liquid Environmental Solutions
                                                                                Contingent
          PO Box 733372                                                         Unliquidated
          Dallas, TX 75373                                                      Disputed
          Date(s) debt was incurred 4/2023                                   Basis for the claim: services
          Last 4 digits of account number 4682                               Is the claim subject to offset?      No         Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $197.13
          Misbo
          1000 Whitlock Ave
                                                                                Contingent
          Suite 320-337                                                         Unliquidated
          Marietta, GA 30064                                                    Disputed
          Date(s) debt was incurred 6/2022                                   Basis for the claim: services
          Last 4 digits of account number 1438                               Is the claim subject to offset?      No         Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,333.34
          Newcomer
          200 Market Place
                                                                                Contingent
          Suite 230                                                             Unliquidated
          Roswell, GA 30075                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 9805                               Is the claim subject to offset?      No         Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,572.74
          Niche.com Inc
                                                                                Contingent
          PO Box 392796                                                         Unliquidated
          Pittsburgh, PA 15251                                                  Disputed
          Date(s) debt was incurred 3/2023                                   Basis for the claim: services
          Last 4 digits of account number 1086                               Is the claim subject to offset?      No         Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,760.42
          Premier Sports Medicine of GA
                                                                                Contingent
          1358 Mile Post Drive                                                  Unliquidated
          Atlanta, GA 30338                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 8689                               Is the claim subject to offset?      No         Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,414.27
          Pro Sports
                                                                                Contingent
          3130 Florence Road                                                    Unliquidated
          Powder Springs, GA 30127                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number AO01                               Is the claim subject to offset?      No         Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $522.00
          PSAT/NMSQT
                                                                                Contingent
          12192 Collection Center Drive                                         Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred 4/2023                                   Basis for the claim: services
          Last 4 digits of account number 203A                               Is the claim subject to offset?      No         Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $480.00
          Pyro Protection LLC
                                                                                Contingent
          PO Box 1279                                                           Unliquidated
          Jackson, GA 30233                                                     Disputed
          Date(s) debt was incurred 3/2023                                   Basis for the claim: services
          Last 4 digits of account number 2694                               Is the claim subject to offset?      No         Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $833.19
          Quadient Leasing LLC
          Dept 3682
                                                                                Contingent
          PO Box 123682                                                         Unliquidated
          Dallas, TX 75312                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 2466                               Is the claim subject to offset?      No         Yes


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 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,500.00
          Smith & Howard
          271    17th Street NW
                                                                                Contingent
          Suite 1600                                                            Unliquidated
          Atlanta, GA 30363                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $151.18
          SOHO office
          2090 Dunwoody Club Drive
                                                                                Contingent
          Suite 106                                                             Unliquidated
          Atlanta, GA 30350                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number SOHO                               Is the claim subject to offset?      No         Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $172.00
          Spec
          1441 Dresden Drive
                                                                                Contingent
          Suite 280                                                             Unliquidated
          Atlanta, GA 30319                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 8769                               Is the claim subject to offset?      No         Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,619.54
          Stan Wykosky
                                                                                Contingent
          1667 Kevin Drive                                                      Unliquidated
          Bethlehem, PA 18015                                                   Disputed
          Date(s) debt was incurred 12023                                    Basis for the claim: services
          Last 4 digits of account number 2377                               Is the claim subject to offset?      No         Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,300.00
          TeenLife Media LLC
                                                                                Contingent
          PO Box 8722                                                           Unliquidated
          Boston, MA 02114                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 2610                               Is the claim subject to offset?      No         Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,272.00
          The College Board
                                                                                Contingent
          PO Box 30171                                                          Unliquidated
          New York, NY 10087                                                    Disputed
          Date(s) debt was incurred 5/2023                                   Basis for the claim: services
          Last 4 digits of account number 2751                               Is the claim subject to offset?      No         Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,903.61
          The Home Depot Pro
                                                                                Contingent
          PO Box 404468                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 7916                               Is the claim subject to offset?      No         Yes




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 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          The Skill Factory LLC
          165 Towey Trail
                                                                                Contingent
          Woodstock, GA 30188                                                   Unliquidated
          Date(s) debt was incurred 2023 (LISTED FOR                            Disputed
          INFORMATIONAL PURPOSES ONLY)                                       Basis for the claim: Real Estate Purchase Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $335,000.00
          Thompson Coburn
          PO Box 18379M
                                                                                Contingent
                                                                                Unliquidated
          Saint Louis, MO 63195                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 7128                               Is the claim subject to offset?      No         Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,853.19
          TMC-Tebarco Mechanical Group
                                                                                Contingent
          1690 Blue Grass Lakes Parkway                                         Unliquidated
          Alpharetta, GA 30004                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 2269                               Is the claim subject to offset?      No         Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,020.00
          Top Turf
                                                                                Contingent
          PO Box 866                                                            Unliquidated
          Lawrenceville, GA 30046                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 6800                               Is the claim subject to offset?      No         Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $125.00
          Upper CC Trout Unlimited #436
          C/O Trout Unlimited
                                                                                Contingent
          PO Box 98166                                                          Unliquidated
          Washington, DC 20090                                                  Disputed
          Date(s) debt was incurred 10/2022                                  Basis for the claim: dues
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,140.50
          Warren Bond Photography
                                                                                Contingent
          6326 Highway 85                                                       Unliquidated
          Riverdale, GA 30274                                                   Disputed
          Date(s) debt was incurred 2/2023                                   Basis for the claim: services
          Last 4 digits of account number 1507                               Is the claim subject to offset?      No         Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,565.59
          Wells Fargo
          Customer Care
                                                                                Contingent
          PO Box 3072                                                           Unliquidated
          Cedar Rapids, IA 52406                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number 7509                               Is the claim subject to offset?      No         Yes




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 3.62       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                 $1,000.64
            Wex Bank
                                                                                Contingent
            PO Box 6293                                                         Unliquidated
            Carol Stream, IL 60197                                              Disputed
            Date(s) debt was incurred 5/2023                                 Basis for the claim: services
            Last 4 digits of account number 7841                             Is the claim subject to offset?         No       Yes



 Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

            Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1        LEAF Capital Funding LLC
            2005 Market Street                                                                        Line     3.37
            14th Floor
                                                                                                             Not listed. Explain
            Philadelphia, PA 19103

 4.2        Thomas Richelo, Esq
            8230 Grogans Ferry Road                                                                   Line     3.5
            Atlanta, GA 30350
                                                                                                             Not listed. Explain

 4.3        Thompson Coburn LLP
            1909 K Street                                                                             Line     3.56
            Suite 600
                                                                                                             Not listed. Explain
            Washington, DC 20006


 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                     410,969.28
 5b. Total claims from Part 2                                                                            5b.    +     $                   1,333,810.95

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                              5c.          $                      1,744,780.23




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 Fill in this information to identify the case:

 Debtor name         Brandon Hall School, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Faculty Labtops
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                            Apple Inc
                                                                                     5000 Riverside Drive
             List the contract number of any                                         Suite 300 Ease
                   government contract                                               Irving, TX 75039


 2.2.        State what the contract or                   Purchase Agreement
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                     Atlanta International School
             List the contract number of any                                         2890 N. Fulton Dr, NE
                   government contract                                               Atlanta, GA 30305


 2.3.        State what the contract or                   School vans
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                     Bus Max Leasing
             List the contract number of any                                         506A Turner McCall Blvd
                   government contract                                               Rome, GA 30165


 2.4.        State what the contract or                   Copiers and printers
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                     Great America Financial Svcs
             List the contract number of any                                         PO Box 660831
                   government contract                                               Dallas, TX 75266




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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                                                                                                                                       09/28/23 2:41 PM
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 Debtor 1 Brandon Hall School, Inc.                                                            Case number (if known)
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Purchase Sale
             lease is for and the nature of               Agreement - Terminated
             the debtor's interest                        for TSF's failure to fund.
                                                          Debtor disputes any
                                                          executory contract exists.
                                                          INFORMATIONAL
                                                          PURPOSES ONLY
                 State the term remaining                 TERMINATED
                                                          PRE-PETITION                 The Skill Factory LLC
             List the contract number of any                                           165 Towey Trail
                   government contract                                                 Woodstock, GA 30188




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Brandon Hall School, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                       Name                       Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                    Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Brandon Hall School, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                     $1,278,539.00
       From 01/01/2023 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                     $5,080,771.70
       From 01/01/2022 to 12/31/2022
                                                                                                   Other


       For year before that:                                                                       Operating a business                     $6,284,090.00
       From 01/01/2021 to 12/31/2021
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1

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 Debtor       Brandon Hall School, Inc.                                                                 Case number (if known)




           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.                                                                                                                           Secured debt
               SEE ATTACHMENT                                                                                      $0.00
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address
       7.1.    Compass Group USA Inc vs                         Contract                   Fulton County Georgia                           Pending
               Brandon Hall School                                                         Superior Court                                  On appeal
               2023CV381491                                                                Lewis Slaton Courthouse                         Concluded
                                                                                           136 Pryor Street
                                                                                           Atlanta, GA 30303

       7.2.    Apex Disaster Management Inc                     Contract                   Superior Court Fulton County                    Pending
               v. Brandon Hall School Inc.                                                                                                 On appeal
               2023CV386070                                                                                                                Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2

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           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                    Description of the gifts or contributions                  Dates given                      Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss       Value of property
       how the loss occurred                                                                                                                                lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.                                                                                                                   5/2023
                                                                                                                               (payment
                                                                                                                               made in
                                                                                                                               anticipation
                                                                                                                               of Chapter
                                                                                                                               11 case to
                                                                                                                               avoid
                                                                                                                               foreclose -
                 The Falcone Law Firm, PC                                                                                      case
                 363 Lawrence Street                                                                                           prepared but
                 Marietta, GA 30060                                                                                            not filed)           $30,000.00

                 Email or website address


                 Who made the payment, if not debtor?




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3

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 Debtor        Brandon Hall School, Inc.                                                                 Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.2.     The Falcone Law Firm, PC
                 363 LAWRENCE ST
                 Marietta, GA 30060                                                                                            9/26/23                $20,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers            Total amount or
                                                                                                                       were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                   Date transfer            Total amount or
                Address                                         payments received or debts paid in exchange              was made                          value

  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides
                                                                the debtor provides                                                      meals and housing,
                                                                                                                                         number of patients in
                                                                                                                                         debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4

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 Debtor      Brandon Hall School, Inc.                                                                  Case number (if known)



                  Health information
                  Does the debtor have a privacy policy about that information?
                    No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                      No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    TIAA                                                                                       EIN: XX-XXXXXXX

                    Has the plan been terminated?
                      No
                      Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or           Date account was           Last balance
              Address                                           account number            instrument                   closed, sold,          before closing or
                                                                                                                       moved, or                       transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Does debtor
                                                                      access to it                                                             still have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Does debtor
                                                                      access to it                                                             still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 5

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 Debtor      Brandon Hall School, Inc.                                                                  Case number (if known)



      medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Smith & Howard PC                                                                                                          1/2022
                    271 17th Street, Ste 1600
                    Atlanta, GA 30363

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 6

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 Debtor      Brandon Hall School, Inc.                                                                  Case number (if known)



       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Atlanta International School



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Karen White                                                                                        Board Chairperson                     Volunteer


       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       John Marshall                                                                                      Trustee                               Volunteer


       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jorge De Lluch                                                                                     Trustee                               Volunteer




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                          Address                                              Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Kim Ajy                                                                                            Trustee                           termination date
                                                                                                                                            5/2023

       Name                                          Address                                              Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Schnell Hart                                                                                       Trustee                           termination
                                                                                                                                            date-5/2023

       Name                                          Address                                              Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Charles Shearon                                                                                    Trustee                           Termination date
                                                                                                                                            3/2022

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7

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       Name                                          Address                                              Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Patrick Hiller                                                                                     Trustee                          Termination date
                                                                                                                                           7/2022

       Name                                          Address                                              Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Mark Phillips                                                                                      Trustee                          Termination date
                                                                                                                                           6/2022


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.

       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          September 28, 2023

 /s/    Karen White                                                       Karen White
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         Board Chair

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8

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                                                             United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      Brandon Hall School, Inc.                                                                                Case No.
                                                                                   Debtor(s)                         Chapter        11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Board Chair of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date       September 28, 2023                                               Signature /s/ Karen White
                                                                                            Karen White

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                        United States Bankruptcy Court
                                                                                 Northern District of Georgia
 In re       Brandon Hall School, Inc.                                                                                                         Case No.
                                                                                                           Debtor(s)                           Chapter    11

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                                                                                                                       $ 30,000.00 (includes filing fee)
             For legal services, I have agreed to accept ....................................................................
                                                                                                                    $ 30,000.00 (includes filing fee)
             Prior to the filing of this statement I have received .......................................................
             Balance Due ...................................................................................................................
                                                                                                                                      $                        0.00

2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                            Debtor                                  Other (specify):Negotiations with secured creditors to reduce to
               market value; exemption planning; preparation and filing of reaffirmation agreements and applications as needed;
               preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods.



4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
          All fees will be billed to the client or Bankruptcy Estate at the rate of $400.00 per hour in incements of 1/10th of an hour, or any such other
          amount as determined by the Court. Associate attorneys will be billed at $250.00 per hour, paralegals at $175.00 per hour, and administrative
          assistants at $75.00 per hour. All rates are billed in increments of 1/10th of an hour with minimum of $2/10th per hour for any task.
          All fees are subject to court approval and any fees incurred after the fiing of the client's petition will not be dispersed until such agreement is
          approved by the court. in no case will client be billed directly nor will any additioanl fees be collected from client unless expressly authorized
          by the court.
          Attorney may send bills to client from time to time to keep client informed of time incurred. Attorney shall not seek any additional
          compensation directly from client unless expressly authorized by the Court.


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               .
                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     June 19, 2023
     Date                                                                                                 Ian Falcone 254470
                                                                                                          Signature of Attorney
                                                                                                          The Falcone Law Firm, PC
                                                                                                          363 Lawrence St NE
                                                                                                          Marietta, GA 30060-2056
                                                                                                          (770) 426-9359 Fax:
                                                                                                          imf@falconefirm.com
                                                                                                          Name of law firm



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                                                             United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      Brandon Hall School, Inc.                                                                Case No.
                                                                                    Debtor(s)        Chapter    11




                                              VERIFICATION OF CREDITOR MATRIX


I, the Board Chair of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct

to the best of my knowledge.




 Date:        September 28, 2023                                         /s/ Karen White
                                                                          Karen White/Board Chair
                                                                         Signer/Title




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                            Aimee Dooley
                            4250 Arch Pass
                            Cumming, GA 30040


                            Amazon Capital Services
                            PO Box 035184
                            Seattle, WA 98124


                            Amazon Cardmember Services
                            P.O. Box 6294
                            Carol Stream, IL 60197-6294


                            American Express
                            PO Box 1270
                            Newark, NJ 07101


                            Angela McHenry
                            137 Ravenhurst Lane
                            Fayetteville, GA 30214


                            Apex Disaster Management Inc
                            4220 Steve Reynolds Blvd Suite 5
                            Norcross, GA 30093


                            Apple Inc
                            5000 Riverside Drive Suite 300 Ease
                            Irving, TX 75039


                            AT&T Mobility
                            PO Box 6463
                            Carol Stream, IL 60197


                            Atlanta International School
                            2890 North Fulton Drive
                            Atlanta, GA 30305


                            Atlanta International School
                            2890 N. Fulton Dr, NE
                            Atlanta, GA 30305


                            Atlanta School Guide
                            200 Market Place Suite 230
                            Roswell, GA 30075


                            Atlanta Urgent Care
                            2140 Peachtree Rd NW #360
                            Atlanta, GA 30309


                            Atlantic Capital Bank
                            3280 Peachtree Road
                             Terminus 100, Suite 1600
                            Atlanta, GA 30305


                            Audrey Struck
                            506 Autumn Echo
                            Canton, GA 30114
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                            Bank of America
                            Business Card PO Box 15796
                            Wilmington, DE 19886


                            Beacon Security
                            2954 North Expressway
                            Griffin, GA 30223


                            Betins
                            27328. 96th Ave East
                            Graham, WA 98338


                            Blackbaud, Inc.
                            PO Box 844827
                            Boston, MA 02284


                            Blick
                            6910 Eagle Way
                            Chicago, IL 60678


                            Boardingware International LTD
                            Office 2.6 Cleveland Road, Parnell
                            Auckland, 1052 New Zealand


                            Brian Chapman
                            225 Cagle Road
                            Roswell, GA 30075


                            BSN Sports
                            PO Box 841393
                            Dallas, TX 75284


                            Bus Max Leasing
                            506A Turner McCall Blvd
                            Rome, GA 30165


                            Carrie Flamer
                            570 Lakemont Ct
                            Roswell, GA 30075


                            Chelsey May
                            4021 McGinnis Ferry Rd Apt 1221
                            Suwanee, GA 30024


                            Chris Carr, Attorney General
                            40 Capital Square SW
                            Atlanta, GA 30334


                            Clean Star
                            540 Collins Road
                            Marietta, GA 30066


                            Colleen Martenson
                            1741 Tolleson Court
                            Atlanta, GA 30338
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                            Colonial Supplemental Insurance
                            Premium Processing PO Box 903
                            Columbia, SC 29202


                            Comcast
                            PO Box 71211
                            Charlotte, NC 28272


                            Commercial Industrial Finance Inc
                            10024 Office Center Ave Suite 150
                            Saint Louis, MO 63128


                            Compass Group USA Inc
                            c/o Matthew Lipman, Esq McElroy Deutsch
                            1 Penn Center-Suburban Center 1617 JFK B
                            PhiladelphiaPhi, PA 19103


                            Crabapple Turf Management
                            1012 Union Center Drive
                            Alpharetta, GA 30004


                            Craig Drilling
                            2374 Bynum Road
                            Atlanta, GA 30319


                            Dalton Cagle
                            4420 Peachtree Road NE Apt 2508
                            Atlanta, GA 30319


                            Edge Business Systems LLC
                            1350 Northmeadow Parkway Suite 130
                            Roswell, GA 30076


                            Flik
                            Compass Group USA PO Box 50196
                            Los Angeles, CA 90074


                            Flik Independent School Dining
                            2400 Yorkmont Rd
                            Charlotte, NC 28217


                            FMB Laundry Inc
                            PO Box 27174
                            Baltimore, MD 21230


                            Foust & Associates
                            1275 Shiloh Road Suite 2410
                            Kennesaw, GA 30144


                            GIS Benefits
                            POBox 1806
                            San Antonio, TX 78296


                            Gisa
                            PO Box 1057
                            Thomaston, GA 30286
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                            Grainger Inc
                            Dept 048-821253689
                            Palatine, IL 60038


                            Great America Financial Services
                            625 First Street SE
                            Cedar Rapids, IA 52401


                            Great America Financial Svcs
                            PO Box 660831
                            Dallas, TX 75266


                            Greg Morris
                            867 Summer Forest Drive
                            Suwanee, GA 30024


                            Halladay Education Group Inc
                            6451 Elm Street Vancouver, BC V6N 1B2


                            Herff Jones, Inc
                            PO Box 99292
                            Chicago, IL 60693


                            Home Depot Credit Services
                            Dept 32-2015029170 PO Box 70614
                            Philadelphia, PA 19176


                            Internal Revenue Service
                            PO Box 7346
                            Philadelphia, PA 19101-7346


                            J. Christian Medlin
                            3549 South Cobb Drive
                            Smyrna, GA 30080


                            James Murphy
                            221 Wilcox Road
                            Lagrange, GA 30241


                            John Foster
                            1701 Brandon Hall Drive
                            Atlanta, GA 30350


                            Johnny Green
                            1701 Brandon Hall Drive
                            Atlanta, GA 30350


                            Johnny Green, II
                            1701 Brandon Hall Drive
                            Atlanta, GA 30350


                            Josten's
                            21336 Network Place
                            Chicago, IL 60673
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                            Justin Ryder
                            4 Walden Walk NE
                            Atlanta, GA 30342


                            Justine McDonald
                            920 Saddle Ridge Ct
                            Roswell, GA 30076


                            Kevin Huitt
                            2015 Hilltop Drive
                            Atlanta, GA 30341


                            Kevin Kennedy
                            735 Rockwood Ct
                            Canton, GA 30115


                            Kevin Langley
                            408 Watermill Way
                            Suwanee, GA 30024


                            Kevin Saunders
                            1290 Wilkes Crest Drive
                            Dacula, GA 30019


                            Kristen Bell
                            91 Flowing Trail
                            Dawsonville, GA 30534


                            Kyri Harris
                            2069 Hatteras Way NW
                            Atlanta, GA 30318


                            Leaf
                            PO Box 5066
                            Hartford, CT 06115


                            Leaf Capital Funding LLC
                            2300 Interstate 30
                            Mesquite, TX 75150


                            LEAF Capital Funding LLC
                            2005 Market Street 14th Floor
                            Philadelphia, PA 19103


                            Leaf Technology Finance
                            PO Box 5066
                            Hartford, CT 06115


                            Leonel Pupo
                            1701 Brandon Hall Drive
                            Atlanta, GA 30350


                            Liquid Environmental Solutions
                            PO Box 733372
                            Dallas, TX 75373
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                            Lynn Stallings
                            355 North Peak Drive
                            Alpharetta, GA 30022


                            Meghan Sisk
                            200 Holland Grove Lane
                            Dallas, GA 30132


                            Mela Love
                            3095 Colonial Way Unit A
                            Atlanta, GA 30341


                            Mike Elenbaas
                            857 Myrtle Street NE Apt 2
                            Atlanta, GA 30308


                            Mike Payne
                            510 Hillcrest View Drive
                            Suwanee, GA 30024


                            Misbo
                            1000 Whitlock Ave Suite 320-337
                            Marietta, GA 30064


                            Molly Ganley
                            1701 Brandon Hall Drive
                            Atlanta, GA 30350


                            Newcomer
                            200 Market Place Suite 230
                            Roswell, GA 30075


                            Niche.com Inc
                            PO Box 392796
                            Pittsburgh, PA 15251


                            Nicole Chapman
                            8090 Adair Lane Apt 5114
                            Atlanta, GA 30350


                            Omar Bullock
                            1701 Bandon Hall Drive
                            Atlanta, GA 30350


                            Oxy Willis
                            12000 Prose Circle Apt 9107
                            Covington, GA 30016


                            Patrick Rogers
                            1701 Brandon Hall Drive
                            Atlanta, GA 30350


                            Patrick Shealy
                            1701 Brandon Hall Drive
                            Atlanta, GA 30350
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                            Premier Sports Medicine of GA
                            1358 Mile Post Drive
                            Atlanta, GA 30338


                            Pro Sports
                            3130 Florence Road
                            Powder Springs, GA 30127


                            PSAT/NMSQT
                            12192 Collection Center Drive
                            Chicago, IL 60693


                            Pyro Protection LLC
                            PO Box 1279
                            Jackson, GA 30233


                            Quadient Leasing LLC
                            Dept 3682 PO Box 123682
                            Dallas, TX 75312


                            Sarah Dunn
                            875 Old Farm Walk
                            Marietta, GA 30066


                            Sarah Stewart
                            13 Morgan Ave
                            Cartersville, GA 30121


                            Scott Chruszcz
                            593 Farmbrook Trail
                            Kennesaw, GA 30144


                            Small Business Administration
                            PO Box 3918
                            Portland, OR 97208


                            Smith & Howard
                            271   17th Street NW Suite 1600
                            Atlanta, GA 30363


                            SOHO office
                            2090 Dunwoody Club Drive Suite 106
                            Atlanta, GA 30350


                            Spec
                            1441 Dresden Drive Suite 280
                            Atlanta, GA 30319


                            Stan Wykosky
                            1667 Kevin Drive
                            Bethlehem, PA 18015


                            Tamara Ogier, Esq.
                            Ogier Rothschild & Rosenfeld PO Box 1547
                            Decatur, GA 30031
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                            TeenLife Media LLC
                            PO Box 8722
                            Boston, MA 02114


                            The College Board
                            PO Box 30171
                            New York, NY 10087


                            The Home Depot Pro
                            PO Box 404468
                            Atlanta, GA 30384


                            The Skill Factory LLC
                            165 Towey Trail
                            Woodstock, GA 30188


                            Thomas Richelo, Esq
                            8230 Grogans Ferry Road
                            Atlanta, GA 30350


                            Thompson Coburn
                            PO Box 18379M
                            Saint Louis, MO 63195


                            Thompson Coburn LLP
                            1909 K Street Suite 600
                            Washington, DC 20006


                            TMC-Tebarco Mechanical Group
                            1690 Blue Grass Lakes Parkway
                            Alpharetta, GA 30004


                            Top Turf
                            PO Box 866
                            Lawrenceville, GA 30046


                            Upper CC Trout Unlimited #436
                            C/O Trout Unlimited PO Box 98166
                            Washington, DC 20090


                            US Small Business Administration
                            2 North Street Suite 320
                            Birmingham, AL 35203


                            VAR Technology Finance
                            2330 Interstate 30
                            Mesquite, TX 75150


                            Warren Bond Photography
                            6326 Highway 85
                            Riverdale, GA 30274


                            Wells Fargo
                            Customer Care PO Box 3072
                            Cedar Rapids, IA 52406
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                            Wex Bank
                            PO Box 6293
                            Carol Stream, IL 60197


                            Will Long
                            505 Ivy Chase Lane
                            Peachtree Corners, GA 30092


                            Zoe Hauser
                            207 Pointe Way
                            Havre de Grace, MD 21078
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                                                                     United States Bankruptcy Court
                                                                        Northern District of Georgia
  In re      Brandon Hall School, Inc.                                                                       Case No.
                                                                                     Debtor(s)               Chapter    11




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Brandon Hall School, Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  September 28, 2023                                                     /s/ Ian Falcone
 Date                                                                    Ian Falcone 254470
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for Brandon Hall School, Inc.
                                                                         The Falcone Law Firm, PC
                                                                         363 Lawrence St NE
                                                                         Marietta, GA 30060-2056
                                                                         (770) 426-9359 Fax:
                                                                         imf@falconefirm.com




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